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                EXHIBIT A
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    09/16/2021
                                                                                                    CT Log Number 540254547
TO:         Susie Merkel
            Essilor of America, Inc.
            13555 N Stemmons Fwy
            Dallas, TX 75234-5765

RE:         Process Served in Texas

FOR:        Frames for America, Inc. (Domestic State: TX)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  TANYA N. SVOBODA, individually and on behalf of all others similarly situated vs.
                                                  FRAMES FOR AMERICA, INC.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 2021CH04598
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                         By Process Server on 09/16/2021 at 02:02
JURISDICTION SERVED :                             Texas
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 09/16/2021, Expected Purge Date:
                                                  09/21/2021

                                                  Image SOP

                                                  Email Notification, David J. Milan dmilan@essilorusa.com

                                                  Email Notification, Peggy Hintergardt phintergardt@essilorusa.com

                                                  Email Notification, Susie Merkel susie.merkel@essilorusa.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  1999 Bryan Street
                                                  Suite 900
                                                  Dallas, TX 75201
                                                  866-665-5799
                                                  SouthTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
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                                                                        O.Wolters Kluwer

                                 PROCESS SERVER DELIVERY DETAILS




Date:                              Thu, Sep 16, 2021

Server Name:                       Krystal Jones




Entity Served                      FRAMES FOR AMERICA, INC.

Case Number                        2021CH04598

J urisdiction                      TX




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                     Hearing Date: 1/10/2022 9:30 AM - 9:30 AM
                     Courtroom Number: 2308
                     Location: District 1 Court
                             Cook County, IL                                                                                        FILED
                                                                                                                                    9/10/2021 1:20 PM
                                                                                                                                    IRIS Y. MARTINEZ
                                                                                                                                    CIRCUIT CLERK
                                                                                                                                    COOK COUNTY, IL
FILED DATE: 9/10/2021 1:20 PM 2021CH04598




                                                                                                                                    2021CH04598

                                                                                                                                14773134
                                            2120 - Served                    2121 - Served              2620 - Sec. of State
                                            2220 - Not Served                2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail            2321 - Served By Mail
                                            2420 - Served By Publication     2421 - Served By Publication
                                            Summons - Alias Summons                                                 (12/01/20) CCG 0001 A


                                                                IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

                                            Name all Parties

                                            Tanya N. Svoboda


                                                                                   Plaintiff(s)
                                                                    V.
                                                                                                  Case No.   2021 CH 04598
                                            Frames For America,Inc.


                                                                                Defendant(s)
                                            c/o CT Corporation System, Registered Agent,
                                            1999 Bryan St., STE. 900 Dallas, TX 75201

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one): 0 Certified Mail TD.) Sheriff Service 0 Alias
                                                                                        SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance,in the office of the clerk of this court,
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                             THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE.You will need: a computer with internet access; an email address; a completed
                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
                                            appearance.asp; and a credit card to pay any required fees.



                                                         Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
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                                            Summons - Alias Summons                                                                               (12/01/20) CCG 0001.B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
                                            provider.
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                                            If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
                                            your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
                                            person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
                                            illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
                                            date AND for information whether your hearing will he held by video conference or by telephone. The Clerk's
                                            office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used to
                                            register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
                                            cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
                                            appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with endorsement
                                            of service and fees, if any,immediately after service. If service cannot be made, this summons shall be returned so
                                            endorsed. This summons may not be served later than thirty (30) days after its date.




                                                                                                                          9/10/2021 1:20 PM IRIS Y. MARTINEZ
                                            ® Atty. No.: 39042                                            Witness date
                                            C Pro Se 99500

                                            Name. Keith J. Keogh
                                            Atty. for (if applicable):
                                            Tanya N. Svoboda                                             0 Service by Certified M

                                            Address. 55 W.Monroe St, Suite 3390                           El Date of Service:
                                                                                                            (To be inserted by officer on copy left with employer or other person)
                                            City. Chicago

                                            State:   IL    zip: 60603

                                            Telephone: 312-726-1092

                                            Primary Email: Keith@KeoghLaw.com

                                                                   Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                        cookcountyclerkofcourt.org
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                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you do
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                                            not have your case number,email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
                                            and birthdate for a criminal case.


                                                        CHANCERY DIVISION                                        ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCouaDate@cookcountycourt.com                       DISTRICT 2- SKOKIE
                                            Gen. Info: (312) 603-5133                                   Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                           CIVIL DIVISION                               Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourrDate@cookcountycourt.com                DISTRICT 3- ROLLING MEADOWS
                                            Gen.Info: (312) 603-5116                                    Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                               Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                     DISTRICT 4- MAYWOOD
                                            Gen. Info: (312) 603-5710                                   Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                           Gen. Info: (708) 865-6040
                                                             DIVISION                                             DISTRICT 5- BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com           Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                              OR
                                                              ChildSupCourtDate@cookcountycourt.com
                                                                                                        Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                               DISTRICT 6- MARKHAM

                                                        DOMESTIC VIOLENCE                               Court date EMAIL: D6CourtDate@cookcountycourt.com
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com           Gen. Info: (708) 232-4551
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                         PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDatc@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




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                      Hearing Date: 1/10/2022 9:30 AM - 9:30 AM                          12-Person Jury
                      Courtroom Number: 2308
                      Location: District 1 Court                                                        Firm No. 39042
                              Cook County, IL                                                             FILED
                                                                                                          9/10/2021 9:13 AM
                                                             IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                                 COUNTY DEPARTMENT,CHANCERY DIVISION      CIRCUIT CLERK
                                                                                                          COOK COUNTY, IL
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                                                                                                          2021CH04598
                                             TANYA N. SVOBODA,
                                             individually and on behalf of all others                     14765510
                                             similarly situated,                      CLASS ACTION

                                                                       Plaintiff,
                                                                                                        Case No.20210H04598
                                                                V.

                                             FRAMES FOR AMERICA,INC.,
                                                                                                        JURY TRIAL DEMANDED
                                                                       Defendant.

                                                                                CLASS ACTION COMPLAINT

                                                         Plaintiff Tanya N. Svoboda ("Plaintiff"), individually and on behalf of all other persons

                                             similarly situated, brings this class action lawsuit against Defendant Frames for America, Inc.

                                            ("FramesDirect" or "Defendant") for violations of the Illinois Biometric Information Privacy Act

                                            ("BIPA"),740 ILCS 14/1 et seq. Plaintiff alleges the following facts based on personal knowledge,

                                             investigation by her counsel, and on information and belief where indicated.

                                                                                    NATURE OF THE ACTION

                                                         1.     Plaintiff brings this action for damages and other legal and equitable remedies

                                             resulting from the illegal actions of FramesDirect in collecting, capturing, storing, using,

                                             disclosing, and redisclosing her and other similarly-situated individuals' biometric identifiers' and

                                             biometric information2 (collectively, "Biometrics") without first developing the requisite data

                                             retention and destruction policies, making the required disclosures, and obtaining prior informed

                                             written consent, in direct violation ofBIPA




                                              A "biometric identifier" is any personal feature that is biologically unique to an individual, such as retina
                                             scans, fingerprints, and scans offace geometry. 740 ILCS 14/10.

                                            2 "Biometric information" is any information based on a person's biometric identifier used to identify an
                                            individual. 740 ILCS 14/10.


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                                                        2.   The Illinois Legislature has found that "[b]iometrics are unlike other unique

                                            identifiers" such as social security numbers, which can be changed if compromised. 740 ILCS
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                                            14/5(c). "Biometrics . . . are biologically unique to the individual; therefore, once compromised,

                                            the individual has no recourse, is at heightened risk for identity theft, and is likely to withdraw

                                            from biometric-facilitated transactions." Id.

                                                        3.   Recognizing the need to protect citizens from these risks, Illinois enacted BIPA,

                                            which prohibits private entities like FramesDirect from collecting, capturing, obtaining and/or

                                            possessing an individual's Biometrics unless they first: (1) inform the person in writing that

                                            biometric identifiers or information will be collected or stored;(2) provide the person with written

                                            notice of the specific purpose and length of term for which such biometric identifiers or

                                            information is being collected, stored, and used;(3) receive a written release signed by the person

                                            authorizing the collection of his or her biometric identifiers and information; and (4) develop and

                                            comply with a publicly-available retention schedule and guidelines for permanently destroying the

                                            biometric identifiers and information. See 740 ILCS 14/15(a)-(b).

                                                        4.   BIPA also prohibits private entities like FramesDirect from disclosing,

                                            redisclosing, or otherwise disseminating an individual's Biometrics unless: (1) the individual

                                            consents to the disclosure or redisclosure before it occurs; (2) the disclosure or redisclosure

                                            completes a financial transaction the individual requested or authorized; (3) the disclosure or

                                            redisclosure is required by State or federal law or municipal ordinance; or (4) the disclosure is

                                            required pursuant to a valid warrant or subpoena issued by a court of competent jurisdiction. See

                                            740 ILCS 14/15(d).

                                                        5.   In direct violation of these requirements, FramesDirect collected, captured, stored,

                                            used, disclosed, and redisclosed—without first providing notice and the required information,



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                                            obtaining informed written consent, or creating written publicly-available data retention and

                                            destruction guidelines—the facial geometry and associated personal identifying information of
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                                            thousands if not millions ofunwitting Illinois residents who used FramesDirect's virtual"Try-On"

                                            programs and applications (the "Virtual Try-On Programs") from computers and other devices in

                                            Illinois.

                                                        6.    Plaintiff brings this action to prevent FramesDirect from further violating the

                                            privacy rights of Illinois residents, and to recover statutory damages for FramesDirect's

                                            unauthorized collection, storage, and use of those individuals' Biometrics in violation of BIPA.

                                                                                          PARTIES

                                                        7.    Plaintiff Tanya N. Svoboda is and has been at all times relevant a resident of Cook

                                            County, Illinois.

                                                        8.    Defendant Frames for America, Inc. is a corporation organized under Texas law

                                            with its headquarters and principle place of business at 2801 S. Interstate 35, Suite 170 in Austin,

                                            Texas 78741.

                                                        9.    Frames for America, Inc. is an online eyewear retailer that sells eyewear under the

                                            service mark FramesDirect.com, including in Illinois to Illinois residents, via the website

                                            framesdirect.corn.

                                                                               JURISDICTION AND VENUE

                                                        10.   This Court has jurisdiction over Defendant pursuant to 735 ILCS 5/2-209(a)(1),

                                            735 ILCS 5/2-209(a)(2), 735 ILCS 5/2-209(b)(4), and 735 ILCS 5/2-209(c). The alleged tortious

                                            acts and conduct that are the subject ofthis action occurred in Illinois, Defendant does business in

                                            Illinois, and Defendant targets business activity in Illinois and purposefully avails itself of the




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                                            laws, protections, and advantages of doing business in Illinois with Illinois consumers like

                                            Plaintiff.
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                                                        1 1.   Venue is proper under 735 ILCS 5/1-101(2) because this is the county in which the

                                            transaction, or some part thereof, occurred.

                                                                                 FACTUAL BACKGROUND

                                            I.          Illinois's Biometric Information Privacy Act.

                                                        12.    Biometrics are unlike other identifiers because they are a permanent, biologically-

                                            unique identifier associated with the individual.          Because one cannot simply change her

                                            fingerprints or facial geometry, the collection, use, storage, and handling of biometric identifiers

                                            and biometric information creates a heightened risk of identity theft. See 740 ILCS 14/5(c).

                                                        13.    In the 2000's, major national corporations started using Chicago and other locations

                                            in Illinois to test new applications of biometric-facilitated transactions. See 740 ILCS 14/5(b).

                                                        14.    In late 2007, a biometric company called Pay by Touch—which provided major

                                            retailers throughout the State of Illinois with biometric scanners to facilitate consumer

                                            transactions—filed for bankruptcy. That bankruptcy was alarming to the Illinois legislature

                                            because suddenly there was a serious risk that citizens' biometric records—which can be linked to

                                            people's sensitive financial and personal data—could now be sold, distributed, or otherwise shared

                                            through the bankruptcy proceedings without adequate protections. The bankruptcy also

                                            highlighted that many persons who used the biometric scanners were unaware that the scanners

                                            were transmitting their data to the now-bankrupt company, and that their biometric identifiers

                                            could then be sold and disseminated to unknown third-parties.




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                                                        15.   In 2008, Illinois enacted BIPA due to the "very serious need [for] protections for

                                            the citizens of Illinois when it [comes to their] biometric information." Illinois House Transcript,
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                                            2008 Reg. Sess. No. 276.

                                                        16.   BIPA makes it unlawful for a company to collect, capture, purchase, receive

                                            through trade, or otherwise obtain a person's or a customer's biometric identifier or information

                                            unless the company first:

                                                              a) informs the subject in writing that a biometric identifier or information is being
                                                                 collected or stored;

                                                              b) informs the subject in writing of the specific purpose and length of term for
                                                                 which a biometric identifier or information is being collected, stored, and used;
                                                                 and

                                                              c) receives a written release executed by the subject of the biometric identifier or
                                                                 information.

                                            740 ILCS 14/15(b).

                                                        17.   BIPA defines a "written release" as :'informed written consent." 740 ILCS 14/10.

                                                        18.   BIPA also requires companies to develop and comply with a written policy—made

                                            available to the public—establishing a retention schedule and guidelines for permanently

                                            destroying biometric identifiers and information when the initial purpose for collecting such

                                            identifiers or information has been satisfied, or within three years of the individual's last

                                            interaction with the company, whichever occurs first. 740 ILCS 14/15(a).

                                                        19.   In addition, BIPA makes it unlawful for a company in possession of a biometric

                                            identifier or information to disclose, redisclose, or otherwise disseminate the biometric identifier

                                            or information unless:

                                                              a) The company obtains the subject of the biometric identifier or information
                                                                 consents to the disclosure or redisclosure;

                                                              b) the disclosure or redisclosure completes a financial transaction requested or
                                                                 authorized by the subject ofthe biometric identifier or information;


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                                                              c) the disclosure or redisclosure is required by State or federal law or municipal
                                                                 ordinance; or
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                                                               d) the disclosure is required pursuant to a valid warrant or subpoena issued by a
                                                                  court of competent jurisdiction.

                                            740 ILCS 14/15(d).

                                                        20.    As alleged below, FramesDirect's practice of collecting, capturing, storing and

                                            using individuals' biometric identifiers (specifically, scans oftheir facial geometry) and associated

                                            biometric information without prior informed written consent violated BIPA § 15(b).

                                            FramesDirect's disclosure and redisclosure ofthose biometric identifiers and information to third-

                                            parties without prior informed consent violated BIPA § 15(d). And FramesDirect's failure to

                                            develop and comply with a publicly-available written policy establishing FramesDirect's retention

                                            schedule and guidelines for the permanent destruction of individuals' biometric identifiers and

                                            biometric information violated BIPA § 15(a).

                                                        FramesDirect Collected, Captured, and Disclosed Plaintiff's Biometrics.

                                                        21.   FramesDirect developed the Virtual Try-On Programs in order to compete with

                                            other eyewear retailers and increase its sales.

                                                        22.   FramesDirect's Virtual Try-On Programs were, at all times relevant, available via

                                            the FramesDirect.com website.

                                                        23.   Using augmented reality technology, FramesDirect's Virtual Try-On Programs

                                            allow consumers to virtually try-on eyeglasses and sunglasses to get an impression of how the

                                            eyewear would look on the consumer's face in-person.

                                                        24.   In order to use the Virtual Try-On Programs, consumers are required to either

                                            upload a preexisting photograph of their face, or turn on and use a camera to take a new photo of

                                            their face to upload.



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                                                        25.   FramesDirect's application then scans the consumer's facial geometry and uses the

                                           facial geometry or landmarks obtained from the photo to apply or place the virtual eyewear onto
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                                           the face in the photo.

                                                        26.   FramesDirect's Virtual Try-On Programs use an algorithm that scans the face in

                                            each photo to detect facial features or landmarks and calculates a unique digital map of the face

                                           (i.e. a face template) based on geometric attributes such as the distance between various facial

                                           features. Accordingly, each face template constitutes a "biometric identifier." See 740 ILCS 14/10.

                                                        27.   Much like fingerprints, voiceprints, and retinal patterns, each face template is

                                           unique to, and can be used to identify, a particular person.

                                                        28.   The Virtual Try-On Programs use the scan ofthe facial geometry or face template

                                           to, among other things, apply or place the virtual eyewear onto the face in the photo.

                                                        29.   FramesDirect stores the face templates extracted from the photographs used in

                                           connection with the Virtual Try-On Programs in a database.

                                                        30.   This is all an automated process that occurs without the user's involvement or

                                           consent whenever a photograph is uploaded or used in connection with the Virtual Try-On

                                           Programs.

                                                        31.   Users cannot disable this technology, nor can they prevent FramesDirect from

                                           harvesting their biometric identifiers (i.e. scans of face geometry) whenever a photograph is

                                           uploaded or used for the Virtual Try-On Programs.

                                                        32.   Because disabling this feature is not an option, use ofthe Virtual Try-On Programs

                                           is conditioned on the collection of Biometrics.




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                                                        33.       FramesDirect indiscriminately collects and captures Biometrics of all users who

                                            appear in any photo uploaded or used for the Virtual Try-On Programs, including minors incapable
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                                            of providing informed consent.

                                                        34.       FramesDirect discloses those Biometrics to third-party service providers, business

                                            partners and marketing partners, as well as FramesDirect's affiliated companies, for commercial

                                            and other purposes.

                                            III.        FramesDirect Possesses Plaintiff's Biometrics.

                                                        35.       FramesDirect has complete and exclusive control over the Biometrics collected,

                                            captured, and stored in connection with the Virtual Try-On Programs. To be clear, FramesDirect

                                            controls:

                                                              • Whether biometric identifiers are collected and captured;

                                                              • Which biometric identifiers are collected and captured;

                                                              • The type of Biometrics that are collected and captured, and the format in which
                                                                they are stored;

                                                              • The algorithm that is used to collect and capture Biometrics;

                                                              • Which Biometrics are saved;

                                                              • Whether Biometrics are disclosed and to whom;

                                                          • Whether information based on biometric identifiers is used to identify users (thus
                                                            creating biometric information);

                                                          • Where Biometrics are stored;

                                                          • How long Biometrics are stored; and

                                                          • Whether Biometrics are encrypted or otherwise protected.

                                                        36.      The user ofthe Virtual Try-On Programs, in contrast, has no ability to control the

                                            Biometrics collected, captured, and stored.




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                                                        37.   Users cannot disable the collection of Biometrics or limit what data is collected or

                                            captured.
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                                                        38.   Thus, FramesDirect fully controls—and thus, possesses—the Biometrics harvested

                                            from photos uploaded in connection with the Virtual Try-On Programs.

                                            IV.         Plaintiff's Experience with FramesDirect's Virtual Try-On Programs.

                                                        39.   Plaintiff used FramesDirect's Virtual Try-On Programs by accessing the

                                            FramesDirect.com website from a mobile device in Illinois on multiple separate occasions to

                                            virtually try-on various pairs of glasses.

                                                        40.   In order to use FramesDirect's augmented reality Virtual Try-On Programs to

                                            virtually try-on glasses, FramesDirect required Plaintiffto either upload a preexisting photo ofher

                                            face, or turn on and use a camera to take a new photo of her face to upload.

                                                        41.   Each time Plaintiff used the Virtual Try-On Programs, she was required to upload

                                            a preexisting photo of her face, or turn on and use a camera to take a new photo of her face to

                                            upload.

                                                        42.   Each and every time Plaintiff used FramesDirect's Virtual Try-On Programs, she

                                            turned on and used a camera to take a new photo of her face and uploaded the photo, at which

                                            point the Virtual Try-On Programs scanned, collected, captured, and used her biometric identifiers

                                            and biometric information (e.g. scans of her face geometry, face templates).

                                                        43.   On each occasion, the Virtual Try-On Programs simulated what Plaintiff would

                                            look like wearing different pairs ofglasses by using her facial geometry and/or landmarks obtained

                                            from the photo to virtually apply or place the virtual glasses onto her face.

                                                        44.   FramesDirect also disclosed and redisclosed Plaintiffs Biometrics to third-party

                                            service providers, business partners, marketing partners, and/or FramesDirect's affiliates.



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                                                        45.   FramesDirect has not informed Plaintiff that it would collect and capture her

                                            Biometrics whenever she uploaded a photograph of herself in connection with the Virtual Try-On
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                                            Programs.

                                                        46.   FramesDirect has not informed Plaintiff that the Virtual Try-On Programs will

                                            operate to collect, capture, use, store, and disclose her Biometrics whenever a photograph of her

                                            face is uploaded or used in connection with the Virtual Try-On Programs.

                                                        47.   FramesDirect never provided Plaintiff with the requisite statutory disclosures nor

                                            an opportunity to prohibit or prevent the collection, capture, storage, use, or disclosure of her

                                            unique biometric identifiers and biometric information.

                                                        48.   FramesDirect never provided Plaintiff with a retention schedule or guidelines for

                                            permanently destroying her biometric identifiers and biometric information.

                                                        49.   FramesDirect did not obtain Plaintiffs consent—in any form—to collect, capture,

                                            disclose, or redisclose her biometric identifiers and biometric information prior to FramesDirect

                                            collecting, capturing, disclosing, and redisclosing her biometric identifiers and biometric

                                            information.

                                                        50.   FramesDirect never provided Plaintiff with, nor did she ever sign, a written release

                                            allowing FramesDirect to collect, capture, store, or use her unique biometric identifiers or

                                            biometric information.

                                                        51.   FramesDirect did not obtain Plaintiffs prior informed consent to disclose or

                                            redisclose her biometric identifiers or biometric information.

                                                        52.   By collecting, capturing, storing, using, and disclosing Plaintiffs unique biometric

                                            identifiers and biometric information without her prior informed written consent, FramesDirect

                                            invaded Plaintiffs statutorily protected right to privacy in and control over her Biometrics.



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                                                        53.   FramesDirect's acts and omissions denied Plaintiff the opportunity to consider

                                            whether the terms of FramesDirect's collection, capture, storage, use, and disclosure of her
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                                            biometric identifiers and biometric information were acceptable given the attendant risks, denied

                                            her the opportunity to avoid the collection, capture and disclosure of her data, denied her the ability

                                            to object to the way her data was being handled, and denied her the ability to use the undisclosed

                                            information in the way BIPA envisioned, all of which harmed her concrete interests that the

                                            legislature sought to protect by enacting BIPA.

                                                        54.   FramesDirect's failure to permanently destroy Plaintiffs biometric identifiers and

                                            biometric information resulted in FramesDirect's unlawful retention of her Biometrics, thereby

                                            inflicting a concrete and particularized privacy injury separate and distinct from FramesDirect's

                                            unlawful collection, capture, and disclosure of her biometric identifiers and biometric information.

                                            V.          FramesDirect's Conduct Violated BIPA and Injured Illinois Residents in Illinois.

                                                        55.   In violation of BIPA § 15(a), FramesDirect does not have a written, publicly-

                                            available policy establishing a retention schedule or guidelines for permanently destroying the

                                            biometric identifiers and biometric information it collected or otherwise obtained, and

                                            FramesDirect did not permanently destroy those within the statutorily-mandated timeframes.

                                                        56.   In violation of BIPA § 15(b)(1), FramesDirect collected or otherwise obtained

                                            Illinois residents' biometric identifiers and biometric information without first informing those

                                            residents in writing that their biometric identifiers and biometric information were being collected

                                            or stored.

                                                        57.   FramesDirect never informed or disclosed to Illinois residents, as part ofthe process

                                            ofusing the Virtual Try-On Programs or otherwise, that FramesDirect collects, captures, and stores

                                            those residents' Biometrics from photos uploaded in connection with the Virtual Try-On Programs.



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                                                        58.   FramesDirect never indicates or discloses to the consumers who use its Virtual Try-

                                            On Programs that it is collecting, capturing, storing, and disclosing their Biometrics.
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                                                        59.   FramesDirect, however, does indeed collect, capture, use, and store consumers'

                                            Biometrics.

                                                        60.   FramesDirect also discloses the consumers' Biometrics to third-parties.

                                                        61.   In violation ofBIPA §§ 15(b)(2) and 15(b)(3), FramesDirect collected or otherwise

                                            obtained Illinois residents' biometric identifiers and biometric information without first informing

                                            them in writing ofthe specific purpose and length oftime for which their biometric identifiers and

                                            information would be collected, stored and used, and obtaining their prior informed written consent

                                            and written releases executed by each of them.

                                                        62.   In violation of BIPA § 15(d), FramesDirect disclosed those Illinois residents'

                                            biometric identifiers and biometric information to third-parties without first informing those

                                            Illinois residents and obtaining their consent.

                                                        63.   FramesDirect chose to use biometric identifiers and information obtained from

                                            photographs that were:(1)ofIllinois residents;(2)created in Illinois;(3)uploaded from computers

                                            and mobile devices in Illinois;(4)by Illinois residents. In so doing, FramesDirect exposed Illinois

                                            residents and citizens to ongoing privacy risks in Illinois, knowing its conduct would injure those

                                            residents and citizens in Illinois.

                                                        64.   FramesDirect knew (or had reason to know) that obtaining Illinois residents' and

                                            citizens' biometric identifiers and biometric information in violation ofBIPA would deprive those

                                            residents and citizens of their statutorily-protected information and privacy rights, neutralize their

                                            ability to control access to their biometric identifiers and biometric information, and expose them

                                            to potential surveillance and other privacy harms in Illinois. As such, Illinois has a direct interest



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                                            in regulating the unlawful conduct alleged herein in order to protect the rights of its citizens and

                                            residents.
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                                                        65.   As the Illinois Legislature has found and the Illinois Supreme Court has confirmed,

                                            the harm to Plaintiff and the Class from the BIPA violations alleged herein has already occurred.

                                                        66.   Given the risks of biometric data collection and disclosure, public policy in Illinois

                                            expressly provides its citizens with the right to control the fate oftheir unique biometric identifiers

                                            and information. FramesDirect's acts and omissions—including, but not limited to, its failure to

                                            provide the necessary disclosures and obtain the requisite consent—deprived Plaintiff and the

                                            Class of this right.

                                                        67.   As a result ofFramesDirect's unlawful conduct, Plaintiff and the other members of

                                            the Class have already sustained information and privacy injuries in Illinois and face additional

                                            impending injuries.

                                                        68.   Due to FramesDirect's illegal actions, Plaintiffs and the Class's biometric

                                            identifiers and information are no longer under their control and are available to a potentially-

                                            unlimited range of unknown individuals, exposing Plaintiff and the Class to the imminent and

                                            impending injuries of identity theft, fraud, stalking, surveillance, and other invasions of privacy.3

                                                        69.   Indeed, there is already an illegal market for biometric data. Hackers and identity

                                            thieves have targeted Aadhaar, the largest biometric database in the world, which contains the

                                            personal and biometric data—including fingerprints, iris scans, and facial photographs—of over

                                            one billion citizens of India.' In January 2018, an Indian newspaper reported that, as part of a



                                            3 Samir Jeraj, With facial recognition technology, how safe is your data?, The New Statesman, March 2,
                                            2020, available at https://www.newstatesman.com/spotlight/cyb er/2020/03/facial-recognition-technology-
                                            how-safe-your-data.

                                            4 Vidhi Doshi, A security breach in India has left a billion people at risk ofidentity theft, The Washington
                                            Post (Jan. 4, 2018), available at https://www.washingtonpost.com/news/worldviews/wp/2018/01/04/a-

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                                            sting, it took the newspaper only about 10 minutes and less than $7.00 to purchase the data housed

                                            in Aadhaar, and for a mere $4.00 extra, it also purchased the software necessary to misuse that
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                                            data for fi-aud.5

                                                                                    CLASS ALLEGATIONS

                                                        70.    Class Definition: Plaintiff brings this action on behalf of a class of all similarly-

                                            situated individuals (the "Class") that is defined, subject to amendment, as follows:

                                                        All individuals who, while residing in the State of Illinois, had their biometric
                                                        identifiers or biometric information collected, captured, received or otherwise
                                                        obtained, and/or stored, and/or disclosed, redisclosed or otherwise disseminated, by
                                                        FramesDirect.

                                                        71.    Plaintiff represents and is a member of the Class. Excluded from the Class are

                                            FramesDirect and any entities in which FramesDirect has a controlling interest, FramesDirect's

                                            employees and agents, the Judge to whom this action is assigned, and any member of the Judge's

                                            staff and immediate family.

                                                        72.    Certification of Plaintiff's claim for classwide treatment is appropriate because

                                            Plaintiff can prove the elements of her claims on a classwide basis using the same evidence as

                                            would be used to prove those elements in individual actions alleging the same claims.

                                                        73.    Numerosity — 735 ILCS 5/2-801(1). The number of persons within the Class is

                                            substantial, and is reasonably believed to include thousands ofpersons. It is, therefore, impractical

                                            to join each member of the Class as a named Plaintiff Further, the size and relatively modest

                                            value of the claims of the individual members of the Class renders joinder impractical.

                                            Accordingly, utilization ofthe class action mechanism is the most economically feasible means of


                                            security-breach-in-india-has-left-a-billion-people-at-risk-of-identity-theft/.

                                            5Rachna Khaira, Rs 500, 10 minutes, and you have access to billion Aadhaar details, The Tribune (Jan.
                                            4,2018), available at https://www.tribuneindia.com/news/archive/nation/rs-500-10-minutes-and-you-
                                            have-access-to-billion-aadhaar-details-523361.

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                                            determining and adjudicating the merits ofthis litigation. While the exact number ofClass member

                                            is currently unknown, this information can be ascertained from FramesDirect's and third-parties'
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                                            records. Class members can be notified about the pendency of this action'through recognized,

                                            Court-approved methods of notice dissemination, such as U.S. Mail, electronic mail, internet

                                            postings, andJor published notice.

                                                        74.    Commonality and Predominance — 735 ILCS 5/2-801(2). This action involves

                                            common questions of law and fact, which predominate over any questions affecting Class

                                            members, including, without limitation;

                                                              (a) whether FramesDirect collected, captured, or otherwise obtained the
                                                                  Class members' biometric identifiers or biometric information;

                                                              (b) whether FramesDirect possessed the Class members' biometric
                                                                  identifiers or biometric information;

                                                              (c) whether FramesDirect informed the Class members in writing that their
                                                                  biometric identifiers and biometric information are being collected or
                                                                  stored;

                                                              (d) whether FramesDirect informed Class members in writing of the
                                                                  specific purposes and length ofterm for which their biometric identifiers
                                                                  and biometric information are being collected, stored, and used;

                                                              (e) whether FramesDirect received a signed written release (as defined in
                                                                  740 ILCS 14/10)to collect, capture, use, and store each Class member's
                                                                  biometric identifiers and biometric information;

                                                              (1) whether FramesDirect disclosed, redisclosed, or otherwise disseminated
                                                                  the Class members' biometric identifiers or biometric information;

                                                              (g) whether FramesDirect received prior informed consent to disclose or
                                                                  redisclose the Class members' biometric identifiers or biometric
                                                                  information;

                                                              (h) whether FramesDirect maintained a publicly-available written policy
                                                                  establishing a retention schedule and guidelines for the destruction of
                                                                  biometric identifiers and information at the time it collected the Class
                                                                  members' biometric identifiers and biometric information;



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                                                              (i) whether FramesDirect complied with any such written policy;
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                                                              (j) whether FramesDirect permanently destroyed the Class members'
                                                                  biometric identifiers and biometric information;

                                                              (k) whether FramesDirect used the Class members' biometric identifiers or
                                                                  biometric information to identify them;

                                                              (1) whether FramesDirect violated BIPA; and

                                                              (m)whether FramesDirect's violations ofBIPA were negligent, reckless, or
                                                                 intentional.

                                                        75.    Adequacy of Representation —735 ILCS 5/2-801(3). Plaintiff has retained and

                                            are represented by qualified and competent counsel who are highly experienced in complex

                                            consumer class action litigation. Plaintiff and her counsel are committed to vigorously prosecuting

                                            this class action. Moreover, Plaintiff is able to fairly and adequately represent and protect the

                                            interests of such a Class. Neither Plaintiff nor her counsel have any interest adverse to, or in

                                            conflict with, the interests ofthe absent members ofthe Class. Plaintiff has raised viable statutory

                                            claims of the type reasonably expected to be raised by members of the Class, and will vigorously

                                            pursue those claims. Ifnecessary, Plaintiff may seek leave ofthis Court to amend this Class Action

                                            Complaint to include additional Class representatives to represent the Class, additional claims as

                                            may be appropriate, or to amend the Class definition.

                                                        76.    Superiority — 735 ILCS 5/2-801(4). A class action is superior -to other available

                                            methods for the fair and efficient adjudication of this controversy because individual litigation of

                                            the claims of all Class members is impracticable. Even if every member ofthe Class could afford

                                            to pursue individual litigation, the Court system could not. It would be unduly burdensome to the

                                            courts in which individual litigation of numerous cases would proceed. Individualized litigation

                                            would also present the potential for varying, inconsistent or contradictory judgments, and would

                                            magnify the delay and expense to all parties and to the court system resulting from multiple trials


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                                            of the same factual issues. By contrast, the maintenance of this action as a class action, with

                                             respect to some or all of the issues presented herein, presents few management difficulties,
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                                            conserves the resources of the parties and of the court system, and protects the rights of each

                                             member ofthe Class. Plaintiff anticipates no difficulty in the management of this action as a class

                                            action. Class-wide relief is essential to compliance with BIPA.

                                                                                         COUNT I
                                                                               Violation of 740 ILCS 14/15(a)
                                                                            (On Behalf of Plaintiff and the Class)

                                                         77.   Plaintiff restates and re-alleges all paragraphs of this Complaint as though fully set

                                            forth herein.

                                                         78.   BIPA requires private entities in possession ofBiometrics to establish and maintain

                                            a biometric data retention—and, importantly, deletion—policy. Specifically, those entities must:

                                            (i) develop and make publicly available a written policy establishing a retention schedule and

                                            guidelines for permanent destruction of biometric data (at most three years after the entity's last

                                            interaction with the individual); and (ii) adhere to that retention schedule and actually delete the

                                            biometric identifiers and biometric information. See 740 ILCS 14/15(a).

                                                         79.   FramesDirect failed to comply with either ofthese BIPA mandates.

                                                         80.   FramesDirect is a corporation, limited liability company and/or other group, and

                                            thus qualifies as a "private entity" under BIPA. See 740 ILCS 14/10.

                                                         81.   Plaintiff and the Class members are individuals whose biometric identifiers and/or

                                            biometric information are possessed by FramesDirect.

                                                         82.   In violation of BIPA, FramesDirect did not develop the statutorily-mandated

                                            retention schedule and destruction guidelines before it collected, captured, and stored Plaintiff's

                                            and the Class member's biometric identifiers and biometric information. See 740 ILCS 14/15(a).



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                                                        83.   In violation of BIPA, FramesDirect did not permanently destroy Plaintiffs and the

                                            Class members' biometric identifiers and biometric information as required. See 740 ILCS
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                                            14/15(a).

                                                        84.   By failing to destroy Plaintiffs and the Class members' biometric identifiers and

                                            biometric information, FramesDirect unlawfully retained their Biometrics.

                                                        85.   In so doing, FramesDirect deprived Plaintiff and the Class of their statutory right

                                            to maintain the privacy of and control over their biometric identifiers and biometric information.

                                                        86.   FramesDirect's conduct intentionally or recklessly violated BIPA with respect to

                                            Plaintiff and the Class members.

                                                        87.   In the alternative, FramesDirect's conduct negligently violated BIPA with respect

                                            to Plaintiff and the Class members.

                                                        88.   Accordingly, Plaintiff, on behalf of herself and the Class, seeks: (1) declaratory

                                            relief;(2) injunctive and equitable relief as is necessary to protect the interests ofPlaintiff and the

                                            Class by requiring FramesDirect to immediately and permanently destroy their biometric

                                            identifiers and biometric informatiOn, and to comply with BIPA's requirements that private entities

                                            maintain and comply with publicly-available guidelines for permanently destroying biometric

                                            identifiers and biometric information; (3) statutory damages of $5,000 for each intentional or

                                            reckless violation ofBIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, statutory damages

                                            of$1,000 for each negligent violation ofBIPA pursuant to 740 ILCS 14/20(1); and (4)reasonable

                                            attorney's fees and costs and other litigation expenses pursuant to 740 ILCS 14/20(3).




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                                                                                        COUNT II
                                                                              Violation of 740 ILCS 14/15(b)
                                                                           (On Behalf of Plaintiff and the Class)
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                                                        89.   Plaintiff restates and re-alleges all paragraphs of this Complaint as though fully set

                                            forth herein.

                                                        90.   BIPA requires private entities such as FramesDirect to obtain informed written

                                            consent from individuals before acquiring their Biometrics. Specifically, BIPA makes it unlawful

                                            for any private entity to "collect, capture, purchase, receive through trade, or otherwise obtain a

                                            person's . . . biometric identifier or biometric information, unless [the entity] first: (1)informs the

                                            subject . . . in writing that a biometric identifier or biometric information is being collected or

                                            stored;(2) informs the subject. . . in writing of the specific purpose and length of term for whin

                                            a biometric identifier or biometric information is being collected, stored, and used; and (3)

                                            receives a written release executed by the subject of the biometric identifier or biometric

                                            information. . . ." 740 ILCS 14/15(b).

                                                        91.   FramesDirect is a corporation, limited liability company and/or other group, and

                                            thus qualifies as a "private entity" under BIPA. See 740 ILCS 14/10.

                                                        92.   Plaintiff and the Class members are individuals whose "biometric identifiers" and

                                            "biometric information," as defined by the BIPA—including, without limitation, scans of their

                                            facial geometry—were collected, captured, purchased, received through trade, or otherwise

                                            obtained, and stored and used, by FramesDirect.

                                                        93.   FramesDirect violated BIPA by collecting, capturing, purchasing, receiving

                                            through trade, or otherwise obtaining Plaintiffs and the Class members' biometric identifiers and

                                            biometric information without first obtaining informed written consent and a signed written release

                                            from each ofthem. See 740 ILCS 14/15(b).



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                                                        94.   In so doing, FramesDirect deprived Plaintiff and the Class of their statutory right

                                            to maintain the privacy of and control over their biometric identifiers and biometric information.
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                                                        95.   FramesDirect's conduct intentionally or recklessly violated BIPA with respect to

                                            Plaintiff and the Class members.

                                                        96.   In the alternative, FramesDirect's conduct negligently violated BIPA with respect

                                            to Plaintiff and the Class members.

                                                        97.   Accordingly, Plaintiff, on behalf of herself and the Class, seeks: (1) declaratory

                                            relief;(2)statutory damages of $5,000 for each intentional or reckless violation of BIPA pursuant

                                            to 740 ILCS 14/20(2) or, in the alternative, statutory damages of $1,000 for each negligent

                                            violation pursuant to 740 ILCS 14/20(1);(3) injunctive and other equitable relief as is necessary

                                            to protect the interests ofPlaintiffand the Class by requiring FramesDirect to comply with BIPA's

                                            requirements for the collection, storage, and use ofbiometric identifiers and biometric information,

                                            as described herein; and (4) reasonable attorney's fees and costs and other litigation expenses

                                            pursuant to 740 ILCS 14/20(3).

                                                                                       COUNT III
                                                                              Violation of 740 ILCS 14/15(d)
                                                                           (On Behalf of Plaintiff and the Class)

                                                        98.   Plaintiff restates and re-alleges all paragraphs of this Complaint as though fully set

                                            forth herein.

                                                        99.   BIPA requires private entities such as FramesDirect to obtain consent from

                                            individuals before disclosing their Biometrics. Specifically, BIPA makes it unlawful for any

                                            private entity to "disclose, redisclose, or otherwise disseminate a person's or a customer's

                                            biometric identifier or biometric information unless: (1) the subject of the biometric identifier or

                                            biometric information or the subject's legally authorized representative consents to the disclosure



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                                            or redisclosure;(2) the disclosure or redisclosure completes a financial transaction requested or

                                            authorized by the subject of the biometric identifier or the biometric information or the subject's
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                                            legally authorized representative;(3) the disclosure or redisclosure is required by State or federal

                                            law or municipal ordinance; or (4) the disclosure is required pursuant to a valid warrant or

                                            subpoena issued by a court of competent jurisdiction." 740 ILCS 14/15(d).

                                                        100.   FramesDirect is a corporation or other group, and thus qualifies as a "private entity"

                                            under BIPA. See 740 ILCS 14/10.

                                                        101.   Plaintiff and the Class members are individuals whose "biometric identifiers" and

                                            "biometric information," as defined by the BIPA—including, without limitation, scans of their

                                            facial geometry—were disclosed, redisclosed, and/or otherwise disseminated by FramesDirect.

                                                        102.   Plaintiff and the Class members did not consent to FramesDirect disclosing,

                                            redisclosing, or otherwise disseminating their biometric identifiers and biometric information, nor

                                            did their legally authorized representatives.

                                                        103.   The disclosure or redisclosure of Plaintiffs and the Class members' biometric

                                            identifiers and biometric information was not to complete a financial transaction they, or their

                                            legally-authorized representatives, requested or authorized.

                                                        104.   The disclosure or redisclosure of Plaintiffs and the Class members' biometric

                                            identifiers and biometric information was not required by State or federal law or municipal

                                            ordinance.

                                                        105.   The disclosure of Plaintiffs and the Class members' biometric identifiers and

                                            biometric information was not required pursuant to a valid warrant or subpoena issued by a court

                                            of competent jurisdiction.




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                                                        106.    FramesDirect violated BIPA by disclosing, redisclosing, and/or otherwise

                                            disseminating Plaintiff's and the Class members' biometric identifiers and biometric information
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                                            without first obtaining prior informed consent from each ofthem. See 740 ILCS 14/15(d).

                                                        107.    In so doing, FramesDirect deprived Plaintiff and the Class of their statutory right

                                            to maintain the privacy of and control over their biometric identifiers and biometric information.

                                                        108.    FramesDirect's conduct intentionally or recklessly violated BIPA with respect to

                                            Plaintiff and the Class members.

                                                        109.    In the alternative, FramesDirect's conduct negligently violated BIPA with respect

                                            to Plaintiff and the Class members.

                                                        1 10.   Accordingly, Plaintiff, on behalf of herself and the Class, seeks: (1) declaratory

                                            relief;(2)statutory damages of $5,000 for each intentional or reckless violation of BIPA pursuant

                                            to 740 ILCS 14/20(2) or, in the alternative, statutory damages of $1,000 for each negligent

                                            violation pursuant to 740 ILCS 14/20(1);(3) injunctive and other equitable relief as is necessary

                                            to protect the interests ofPlaintiff and the Class by requiring FramesDirect to comply with BIPA's

                                            requirements for the disclosure, redisclosure, and other dissemination of biometric identifiers and

                                            biometric information, as described herein; and (4) reasonable attorney's fees and costs and other

                                            litigation expenses pursuant to 740 ILCS 14/20(3).

                                                                                    PRAYER FOR RELIEF

                                                        WHEREFORE,Plaintiff Tanya N. Svoboda, on behalf of herself and the proposed Class,

                                            respectfully requests that this Court enter an Order:

                                                        A.      Certifying this case as a class action on behalf of the Class defined above (or on

                                            behalf of any other class the Court deems appropriate);




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                                                        B.      Appointing Plaintiff as representative of the Class, and her undersigned attorneys

                                            as class counsel;
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                                                        C.      Declaring that FramesDirect's acts and omissions, as set out above, violate BIPA,

                                            740 ILCS 14/1, et seq.;

                                                        D.      Awarding statutory damages of $5,000 for each and every intentional or reckless

                                            violation of BIPA pursuant to 740 ILCS 14/20(2), or alternatively, statutory damages of $1,000

                                            for each and every negligent violation pursuant to 740 ILCS 14/20(1) if the Court finds that

                                            FramesDirect's violations were negligent;

                                                        E.      Awarding injunctive and other equitable relief as is necessary to protect the

                                            interests of Plaintiff and the Class, including, inter alia, requiring Defendant to comply with

                                            BIPA's requirements for the collection, storage, use, possession, disclosure, reclisclosure, and other

                                            dissemination of biometric identifiers and biometric information, and to permanently destroy

                                            Plaintiff's and the Class members' biometric identifiers and biometric information;

                                                        F.      Awarding Plaintiff and the Class their reasonable attorneys' fees and costs and

                                            other litigation expenses pursuant to 740 ILCS 14/20(3);

                                                        G.      Awarding Plaintiff and the Class members pre- and post-judgment interest, to the

                                            extent allowable; and

                                                        H.      Awarding such other and further relief as equity and justice may require.

                                                                                         JURY DEMAND

                                                        Plaintiff, individually and on behalf of all others similarly situated, hereby demands a trial

                                            by jury on all issues so triable.

                                            Dated: September 10, 2021




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                                                                                  Respectfully submitted,

                                                                                  TANYA N. SVOBODA,individually and on behalf of
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                                                                                  all others similarly situated, Plaintiff

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